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    FIL ED                   EW
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                        N            In the United States District Court
   THOMA.SDG . BRUTO   COURT
           IS T R IC T               For the Northen District of Illinois
CLERK, U.S
                                              Eastern Division

     Shenzhen Kunshengze
     Electronic Commerce Co., Ltd.,

                         Plaintiff                                  Case No. 23-CV-16109
     v.

     eShippers

                        Defendant




                                          MOTION TO DISMISS
             eShippers is among many defendants listed in the case presented by the Plaintiff. Because
    eShippers does not expressly conduct business where the complaint has been filed nor is it
    located in that jurisdiction, eShippers that eShippers is dismissed as a defendant in the Plaintiff’s
    case.
    By: Susan Lee on 1-2-2024
    /s/ Susan Lee
